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           8

           9                         IN THE UNITED STATES DISTRICT COURT

          10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

          11

          12   VIDEO GAMING TECHNOLOGIES,
               INC., dba VGT, Inc., a Tennessee                    2:08-CV-01241-JAM-EFB
          13   Corporation, et al.,
                                                              STIPULATION AND ORDER FOR
          14                                      Plaintiffs, EXTENSION OF TIME TO FILE
                                                              RESPONSIVE PLEADINGS
          15                v.

          16   BUREAU OF GAMBLING CONTROL, a
               law enforcement division of the California
          17   Department of Justice, et al.,

          18                                    Defendants.

          19                                                       Date:
                                                                   Time:
          20   CAPITAL BINGO, INC., a California                   Courtroom: 6
               corporation, et al.,                                Judge        The Honorable John A. Mendez
          21                                                       Trial Date
               and                                                 Action Filed: June 4, 2008
          22

          23   EL CAMINO ATHLETIC BOOSTERS
               CLUB, a California non-profit corporation,
          24
                                                Intervenors.
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               STIPULATION AND ORDER FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS
                                                                           (2:08-CV-01241-FCD-EFB)
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           1         Based upon the Plaintiff Capital Bingo Inc., et al., having filed a First Amended Complaint

           2   in Intervention for Declaratory and Injunctive Relief in the within action on November 12, 2008,

           3   Defendants Bureau of Gambling Control and Mathew J. Campoy (Defendants), are required to

           4   file responsive pleadings to the amended complaint, on or before Wednesday, November 26,

           5   2008. Per stipulations and orders of this Court, Plaintiffs Video Gaming Technologies, et al., and

           6   El Camino Athletic Boosters Club have also filed amended complaints, with Defendants’

           7   responses due 30 days from the date of the Court’s November 13, 2008, order allowing the

           8   amended complaints to be filed. As these amended complaints raise difficult but similar issues of

           9   law after the passage of California State Senate Bill 1369, Defendants need additional time to
          10   appropriately respond to the new issues raised by all three of the amended complaints, and have
          11   requested additional time to respond to Plaintiff Capital Bingo, et al.’s First Amended Complaint
          12   in Intervention for Declaratory and Injunctive Relief up to, and including, December 15, 2008,
          13   and counsel for Capital Bingo has graciously agreed to the same. The parties to this stipulation
          14   request that this Court grant the extension of time as requested and stipulated.
          15         IT IS SO STIPULATED
          16   Dated: November 17 , 2008                             Respectfully submitted,
          17                                                         EDMUND G. BROWN JR.
                                                                     Attorney General of California
          18                                                         SARA J. DRAKE
                                                                     Supervising Deputy Attorney General
          19
                                                                     /s/ WILLIAM L. WILLIAMS, JR.
          20
                                                                     WILLIAM L. WILLIAMS, JR.
          21                                                         Deputy Attorney General
                                                                     Attorneys for Defendants
          22

          23   Dated: November 17, 2008                              NOSSAMAN, GUNTHER, KNOX &
                                                                     ELLIOTT, LLP
          24
                                                                     /S/GEOFFREY A. GOODMAN
          25                                                         _____________________________
                                                                     GEOFFREY A. GOODMAN
          26                                                         Attorneys for Intervenors
          27

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               STIPULATION AND ORDER FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS
                                                                           (2:08-CV-01241-FCD-EFB)
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           1                                                ORDER

           2

           3           Based upon the above stipulation of the parties and for good cause shown, the time in

           4   which Defendants may file a response to Plaintiff Capital Bingo et al.’s, First Amended

           5   Complaint in Intervention for Declaratory Relief is extended to and including December 15,
           6
               2008.
           7

           8   Dated: November 18, 2008
           9
                                                            /s/ John A. Mendez_____________
          10                                                HONORABLE JOHN A. MENDEZ

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               STIPULATION AND ORDER FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS
                                                                           (2:08-CV-01241-FCD-EFB)
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